
JUSTICE LEAPHART,
dissenting.
I dissent. I would reverse and remand for specific findings on Laurie’s allegations that Michael’s religious beliefs adversely affect Laurie’s relationship with Jesse. The Court cites Lorenz v. Lorenz (1990), 242 Mont. 62, 788 P.2d 328, for the proposition that a district court need not make specific findings on each statutory factor in determining best interest of children under § 40-4-212, MCA, but need only address the essential and determining facts upon which it rests its conclusion. I do not disagree with that proposition. However, I do believe that the district court must address the allegations which are at the heart of the dispute. In the case at bar, Laurie’s main contention is that if Michael exposes Jesse to the teachings of the Cornerstone Community Church, that exposure will adversely impact on Jesse’s relationship with his mother. Michael, on the other *296hand, contends that Laurie should not be designated the residential parent because she, in the past, restricted Michael’s access to visitation. The District Court chose to specifically make findings as to Michael’s contention but not to address Laurie’s contentions about religious upbringing.
It appears from the transcript that the District Court, although listening to Laurie’s testimony and proof on the question of religious teachings, took the position that religion is beyond the pale of the court’s scrutiny. I disagree. Considerable psychological and/or physical harm can be inflicted in the name of religion. When sufficient evidence is produced to raise questions as to whether particular religious practices are adversely affecting a child’s relationship with a parent, it is incumbent upon the district court to address those issues and make finding as to the allegations.
Montana law provides that the custodial parent may determine the child’s religious training “unless the court after hearing finds, upon motion by the noncustodial parent, that in the absence of a specific limitation of the custodian’s authority, the child’s physical health would be endangered or his emotional development significantly impaired.” Section 40-4-218(1), MCA. This Court has recognized the right of parents to direct the religious upbringing of their children. In re Marriage of Gersovitz (1989), 238 Mont. 506, 509, 779 P.2d 883, 885; citing Wisconsin v. Yoder (1972), 406 U.S. 205, 92 S.Ct. 1526, 32 L.Ed.2d 15. However, the Court noted that, “courts will examine religious practices which interfere with the child’s general welfare. [Citing authority.] A question of religious education must be strictly limited to the context of the best interests of the minor child.” Marriage of Gersovitz, 779 P.2d at 885. In Marriage of Gersovitz, the child’s father was a practicing Jew while the mother was non-Jewish. The district court awarded residential custody to the mother and, in the interests of the philosophy of joint custody, provided that neither parent should have the exclusive right to determine the child’s religious education and affiliation. The father appealed contending that the child should be raised in the Jewish tradition and that custody with the non-Jewish mother prevents the development of that tradition. This Court rejected that argument and found that the district court’s order relating to religion was in the child’s best interests. The Court concluded that an award of custody to the father for the purposes of religious education should not dominate other elements which comprise the best interests of the child. Marriage of Gersovitz, 779 P.2d at 885.
*297The Supreme Court of North Dakota recently addressed a similar situation in Leppert v. Leppert (N.D. 1994), 519 N.W.2d 287, in which the mother belonged to a small religious sect run by her father, Winrod. Her husband, (the father of the children) was once a follower of Winrod but had ceased following his teachings. The district court had awarded custody of two of the minor children to the father and custody of the other three children to the mother. The father appealed the custody award of the three children to the mother. The North Dakota Supreme Court noted that there was testimony at trial supporting the father’s contention that the mother was poisoning the children’s relationship with the father and his family. The Supreme Court concluded that the district court erred in failing to consider the harmful impact of the mother’s beliefs when determining the best interests of the children. Holding that religious conduct which may harm the child, physically or emotionally, is subject to judicial scrutiny, the North Dakota court said:
Although we agree with the district court that Quinta [the mother] must not be discounted from consideration as a custodial parent simply because of her religious beliefs, this does not mean her religiously motivated actions, which are emotionally and physically harmful to the children, should be ignored when determining the children’s best interests. Such a holding would immunize from consideration all religiously motivated acts, no matter what their impact on the children. Carl E. Schneider, Religion and Child Custody, 25 U.Mich. J.L. Ref. 879, 888 (1992).
Leppert, 519 N.W.2d at 290.
The North Dakota court went on to point out that, consideration of the possible harmful impact of a parent’s religion when determining custody is not meant to punish the parent.
The only reason for any consideration of religious beliefs when determining the best interests of the child is to take into account any harmful impact the belief system may have on the child. The best interests factors enumerated in § 14-09-06.2 are secular in nature, and the court’s functions do not include determining the road to salvation. Although secular courts have no place deciding one religion is better than another, Schneider, supra, at 884, they do have the duty of objectively determining whether a belief system’s secular effects are likely to cause physical or emotional harm to children.
Leppert, 519 N.W.2d at 291.
*298In Leppert, the district court had ignored these factors because they were religiously motivated. The North Dakota Supreme Court reversed: “Applying the correct standard for considering the adverse impact that Quinta’s beliefs are likely to have on the children, it is in the best interests of all five children that their physical custody be with Joel.” Leppert, 519 N.W.2d at 291.
In the same vein, the Colorado Supreme Court has held: “While courts must remain sensitive to first amendment concerns, a court in a custody proceeding must not blind itself to evidence of religious beliefs or practices of a party seeking custody which may impair or endanger the child’s welfare.” In re Marriage of Short (Colo. 1985), 698 P.2d 1310, 1313.
Religious upbringing is clearly not beyond the scope of judicial scrutiny. Rather, it is a matter which the courts will (and should) examine to determine whether the religious practices interfere with the child’s welfare or significantly impair his/her emotional development.
Other than what I have read in this record, I have no knowledge of the beliefs and teachings of the Cornerstone Community Church. Furthermore, it is not my function to debate the merits of different religions or show preference to any particular faith. However, there is testimony in the record indicating that the church teaches that women are not allowed any authority, and that men must be allowed to make all the decisions. One witness, a ten-year member of the church, had to undergo an exorcism to rid herself of the “evil unsubmissive spirits” — the spirits which caused her to speak up for herself and to exercise authority rather than completely submit to her husband. Further, there is testimony that the church believed that Laurie Wang was possessed by demons and therefore subjected her to an exorcising ritual. The District Court did not determine whether, in its judgment, there was any truth or significance to this testimony. The court did, however, enter Findings of Fact and Conclusions of Law which provide:
Neither [parent] shall either directly or indirectly cause Jesse to loose respect for or alienate his affection to either parent. The parents shall cast each other in the most favorable light before the child and shall recognize the great importance of the parents/child relationship. Additionally, both parents shall:
c. Encourage the free and natural development of love and respect for both parents and do nothing which may estrange Jesse from *299the other parent, or injure the opinion of the child to the other parent; ....
If there is any validity to Laurie’s allegations that Michael is taking Jesse to a church which teaches Jesse that his mother is possessed by demons and that she, in contrast to the male of the species, is a lesser, subservient human being, then there is a very serious question as to whether those teachings are in direct contravention of the court’s directive that both parents will foster love and respect for the other parent and will do nothing which will estrange Jesse from the other parent or injure the child’s opinion of the other parent.
Whether under the guise of religion or not, any indoctrination of a minor child which undermines a child’s respect for his/her mother because she is a woman, subverts the child’s interaction and interrelationship with that parent, contrary to § 40-4-212(1)(c), MCA, and the best interests of the child.
In response to Michael’s allegations about Laurie’s uncooperativeness, the District Court did find that Michael shows a greater ability to cooperate in his parental role “particularly as it relates to his ability to allow Jesse frequent and continuing contact with his Mother.” Having addressed the issue of frequency of Jesse’s contacts with his mother, it is incongruous to then avoid the more substantive issue of whether Jesse, despite frequent contact with his mother, is being, taught to disrespect and fear his mother as a subservient and demon-possessed person. Given that the trial court required the parties to foster the child’s love and respect for the other parent, the court should have made specific findings as to whether the religious upbringing at the Cornerstone Community Church would be consistent with that directive.
I would reverse and remand for specific findings of fact on the question of what impact, if any, the religious training has on Jesse’s relationship with his mother.
